      Case 1:19-cv-01192-EGS Document 71 Filed 09/30/21 Page 1 of 1



                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



GIFFORDS,

                 Plaintiff,

v.                                   Civ. Action No. 19-1192 (EGS)

FEDERAL ELECTION COMMISSION,

                   Defendant.



                                 ORDER

     For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

     ORDERED that Defendant’s Motion to Dismiss, or in the

Alternative, for Summary Judgment, ECF No. 42, is DENIED; and it

is further

     ORDERED that Plaintiff’s Cross-Motion for Summary Judgment,

ECF No. 48, is GRANTED; and it is further

     ORDERED that, pursuant to 52 U.S.C. § 30109(a)(8)(C),

Defendant conform to this Order within 30 days of the entry of

this Order by making the reason-to-believe determination set

forth in 52 U.S.C. § 30109(a)(2).

     SO ORDERED.
Signed:     Emmet G. Sullivan
            United States District Judge
            September 30, 2021
